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1/16/2018 AOL Mail (3265)

—
Begin forwarded message: f

From: Gary Mize <garymize@yahoo.com>
Subject: Re: For Clarity

Date: June 26, 2017 at 10:41:35 AM MDT
To: Emily Branch <emily@litmanco.com>
Cc: Staci M <staci.mize@gmail.com>

Yes, that is ok to use. You could change “...rely primarily on a wheelchair...” to “...rely completely on a wheelchair...” but
thats up to you.

Gary and Vicki Mize

On Jun 26, 2017, at 10:31 AM, Emily Branch <emily@litmanco.com> wrote:

Hey!

Please see the email below from our in-house council, Fabian, who is preparing a response to opposing
councils motion to dismiss. We would like to have this statement approved to use on any future motions.
Please let me know as soon as you can if this is approved as it has to be filed today.

Thanks,

waenn naan Forwarded message ----------

From: "Fabian Zazueta" <fabian@litmanco.com>
Date: Jun 25, 2017 8:24 PM

Subject: For Clarity

To: "Emily Branch" <emily@litmanco.com>

Cc:

Emily,

| am drafting a response to a motion to dismiss and want to confirm the following paragraph is accurate
and applicable to our local attorney's client, Vicki Mize:

Plaintiff Mize is an individual living with a disability as defined by the Americans with Disabilities Act, 42 U.S.C.
Section 12181, et seq (“ADA”). Plaintiff Mize has severe mobility issues as a result of being diagnosed with multiple
sclerosis, which renders her unable to walk and has forced her to rely primarily on a wheelchair for mobility.
Additionally, Plaintiff Mize suffers from limited upper body strength, limited use of hands, and a resulting inability to
operate mechanisms that require tight grasping, pinching, or twisting; thereby adding to her “disabled” status.

Please let me know if you have any thoughts or concerns.

Fabian Zazueta
Litigation Management
& Financial Services, LLC

(480) 696-1058
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41/16/2678 Fwd: Deposition of Ms. Mize [SaWaRa Sushi]

Begin forwarded message:

From: Gary Mize <garymize@yahoo.com>

Subject: Re: Deposition of Ms. Mize [SaWaRa Sushil]
Date: December 6, 2017 at 5:14:43 PM MST

To: Emily Branch <emily@litmanco.com>

Cc: Vicki Mize <mize_vicki@yahoo.com>

December 20th in the afternoon would work except that it’s two hours of travel time so it would be
difficult to be there any earlier than 2pm.

We would need time to spend with Lori Coulter to prepare for it as well.

Also, how much time are they asking for. We need to be careful of the physical and emotional drain
on Vicki with a trip of that distance and a bunch of attorneys hammering her with questions.
Excessive physical exertion and stress of that type can be very harmful to her. We would need to

limit the deposition time to no more than one hour with a 5 min break after 30 mins.

Also, if they are aggressive or upsetting to her we will terminate the deposition. We are not going
up there to let them beat up on her or to upset her. She is the victim here and is not on trial.

We are fully aware that depositions are routinely used by defense teams to beat up on plaintiffs, and
trying to embarrass them with irrelevant personal questions and “drag them through the mud” and
intimidate them into dropping the case.

Also, be aware that this is the company against which Staci filed a police report for threatening her

and chasing her to her car while she was there purchasing food at the Castle Rock location and may
still have a case against them

Thank you,

Gary and Vicki

Sent from my iPhone

On Dec 6, 2017, at 4:14 PM, Emily Branch <emily@litmanco.com> wrote:

Vicki,

Would the below date work for a deposition? I have already told them that if this date
works for you then they will need to move it to the afternoon.

Thanks,

Emily
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IM16/2C18 Fwd: Deposition of Ms. Mize [SaWaRa Sushi]

wonnannn-- Forwarded message ----------

From: Sydney Rogers <sydney@litmanco.com>
Date: Tue, Dec 5, 2017 at 12:37 PM

Subject: Deposition of Ms. Mize [SaWaRa Sushi]
To: Emily Branch <emily@litmanco.com>

Ms. Coulter and Opposing Counsel have set a date for a deposition on December 20th
at 9:00 a.m.

Boulder County Bar Association at Broadway Suites
1942 Broadway, Boulder, Colorado

Can you please find out if Ms. Mize is available for that time/date?

Thank you!

Sydney Rogers, Lead Paralegal
Litigation Management and Financial Services, LLC

E-mail: sydney@litmanco.com

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accompanying attachment(s) is intended only for the use of the intended recipient and
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your system. Thank you.
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Begin forwarded message:

From: Sydney Rogers <sydney@adaequality.com>

Subject: SaWaRa Sushi- Discovery Questions

Date: December 11, 2017 at 2:23:21 PM MST

To: mize_vicki@yahoo.com, garymize@yahoo.com

Cc: Emily Branch <emily@litmanco.com>, Lori Coulter <lori@adaequality.com>

Mrs. Mize,

My name is Sydney Rogers, | work with both Emily and Lori Coulter, | will be assisting in some of the discovery work that is
due very shortly. | wanted to go over a few questions regarding the SaWaRa Sushi case. Please answer the following
honestly and to the best of your ability. (some will be typed and some will be copied and pasted from what the Defendant
sent us). If you don't know the answer or it is not applicable, it is okay to just put that.

Is SaWaRa Sushi a place you frequent often, and if so, is there a particular reason?
How many times do you think you have been there?

Who accompanied you on your visit, November 29, 2016 (the date listed on the filed complaint).
DESCRIBE YOUR current work, including employer, job title, and work schedule.

DESCRIBE IN DETAIL how YOU learned about LitMan and/or ADA Equality.

DESCRIBE IN DETAIL how YOU were solicited or came to participate as a Plaintiff in this Lawsuit, or
in ADA lawsuits generally.

DESCRIBE IN DETAIL how YOU learned about the SUBJECT PROPERTY and decided to visit SUBJECT
PROPERTY.

DESCRIBE IN DETAIL your visit to SUBJECT PROPERTY on November 29, 2016, including who
accompanied YOU, why YOU went to the SUBJECT PROPERTY, how YOU entered, what YOU purchased
there, and how YOU exited.

DESCRIBE IN DETAIL any visits YOU have made to the SUBJECT PROPERTY since November 29, 2016,
including, but not limited to, who was with YOU during each visit, the purpose of each visit, YOUR activity at
the SUBJECT PROPERTY during each visit, whether YOU made any purchase during each visit, and what
those purchases consisted of.

- Our records indicate that you were at SaWaRa Sushi again on August 22, 2017 (there was a second inspection
and photographs)

DESCRIBE IN DETAIL each communication YOU have had with LitMan and/or ADA Equality, including, but
not limited to, the substance of each communication, the date of each communication, the identity of every
person who participated in each communication, and the method of each communication (ie. email, text
message, telephone call, social media post, etc.).

DESCRIBE IN DETAIL any Compensation YOU have received, hope to receive, or expect to receive from
LitMan and/or ADA Equality.

DESCRIBE IN DETAIL any Compensation YOU have received, hope to receive, or expect to receive from any
entity or individual for participating as a Plaintiff in this Lawsuit.

DESCRIBE IN DETAIL the circumstances under which you would receive Compensation for participating as a
Plaintiff in this Lawsuit, including the potential amounts of that Compensation, how YOUR Compensation
would be determined, and the person or entity who would provide YOUR Compensation.
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The next portion is "Requests for Production of Documents," please let me know if you have and/or can produce
any of the following:

-a copy of your driver's license
- any documents relating to your right to park in a handicap accessible parking space
- all documents relating to your sources of financial income in 2016 and 2017

- all documents relating to money that you received, either directly or indirectly, in 2016 and 2017 which relate
to lawsuits filed in your name

Please note, that we plan on objecting to most if not all questions, but will need the information. Please let me
know if you have any questions. I apologize for the short notice, and thank you in advance for your
cooperation.

Respectfully,

Sydney Rogers

Paralegal to Lori J. Coulter

The Law Office of Lori J. Coulter, LLC
sydney@adaequality.com

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